Case 21-20675 Doc58 Filed 09/19/22 Entered 09/19/22 14:58:40 Page ¢ of 26 7] c
F Ip bo a bm

#273265
UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

   

HARTFORD DIVISION “
In re: Case No. 21-20675-JJT
ADALBERTO GUZMAN :
(CHAPTER 13)
Debtor(s).

REPORT OF SMALL/UNCLAIMED DIVIDENDS

The undersigned trustee reports:

The dividend(s) payable to the creditor(s) listed in Exhibit A hereto is (are) in an amount less than
that Specified in Bankruptcy Rule 3010.

More than ninety (90) days have passed since the final distribution. I have made a reasonable
effort to locate those creditors who did not cash their checks within 90 days or whose checks were
returned undeliverable. The dividend(s) payable to the creditor(s) listed in Exhibit A hereto
remain unclaimed.

Pursuant to Bankruptcy Rule 3010 or 3011, as applicable, and 11 U.S.C. §347(a), the undersigned trustee

remits herewith a check in the total amount shown on Exhibit A for deposit into the United States Treasury,
pursuant to chapter 129 of title 28.

DATED:September 13, 2022

     

/s/ Roberta Napolitano, Trustee
Roberta Napolitano, Trustee
Chapter 13 Standing Trustee

10 Columbus Blvd., 6" Floor
Hartford, CT 06106

Tel: (860) 278-9410

Email: mapolitano@ch13m.com
Federal Bar No.: tr08378
 

Case 21-20675 Doc58_ Filed 09/19/22 Entered 09/19/22 14:58:40 Page 2of2
EXHIBIT A
Case Name: ADALBERTO GUZMAN
Case Number: 2120675
Creditor Claim Distrib. Small Unclaimed
Name and Address Number Amount Dividend Dividend
ADALBERTO GUZMAN 899 $17,126.75

555 GRAHAM ROAD
SOUTH WINDSOR, CT 06074
